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POSITION DESCRIPTION:          Divisional Dean for Humanities, Social Sciences, or Natural Sciences
                               College of Arts and Sciences


The Dean for each division is the primary designee/delegate for the Tykeson Dean of Arts and
Sciences in essentially all matters involving the administration and oversight of departments
and programs in the assigned division (humanities, natural sciences, or social sciences). The
Dean of "division" is the first contact for department and program heads for all Dean-level is-
sues, coordinates Dean-level decisions with the Dean, and then helps communicate these deci-
sions to departments and programs in their division.

The issues coordinated are broad and diverse but are mainly connected to personnel and
budget allocations:

A.        Personnel

     1. Appointment of department heads and program directors
     2. Training department heads on appropriate procedures as needed
     3. Serving as point person for department heads to address unusual issues within the uni-
         versity as they occur
     4. Hiring of faculty, including negotiating start-up packages, allocation of endowed chairs
         and professorships, and faculty partner issues
     5. Faculty leaves, including sabbaticals, fellowships, or leaves for personal or medical rea-
         sons
     6. Review of faculty and OAs, including promotion and tenure review
     7. Retirement, resignations, and tenure-reduction program
     8. Decisions on retention counter-offers, faculty grievances, formal and informal, and sup-
         port with mediation of other personnel issues
     9. Oversight of merit, equity, and other salary increases for faculty and OAs
     10. Selection of annual CAS teaching awards

B.        Budget

     1.   Budget allocations to departments and programs
     2.   Resource allocation requests by departments and programs
     3.   Disbursement of a modest discretionary account for special requests
     4.   Resource allocation for other CAS-level programs, such as CAS program grants and allo-
          cation of CAS endowment funds for undergraduate scholarships

C.        Advocacy and Representation

In addition to these management and oversight responsibilities, the Divisional Dean has an im-
portant role in being an ambassador and advocate for their division and the College at large.
Examples of key activities connected with this responsibility are:




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     1. Working with CAS and University Development staff to support their efforts to raise gifts
        that support the mission of the College
     2. Working with CAS and University Communications staff to inform a wide set of audi-
        ences about the College and its mission
     3. Working with CAS Facilities to coordinate allocation, renovation, and creation of space
     4. Represent CAS and the Dean's Office at key CAS- and University-wide events, particu-
        larly those connected to departments and programs in one's division
     5. Participate in University-level committees (as assigned by the Dean)that are important
        to CAS, including such bodies as the Academic Leadership Team (ALT)

D.      Other Duties

Finally, the Dean for each division are often assigned other duties, as needed. These can in-
clude:

     1. Overseeing and mentoring University-wide candidates for a particular distinguished
        scholarship
     2. Overseeing the Dean's Advisory Committee and coordinating the Dean's staff in prepa-
        ration of promotion and tenure cases
     3. Overseeing the College diversity, equity, and inclusion work, including tracking, report-
        ing, and initiating contributions to equity and inclusion
     4. Serving as the primary contact and coordinator for graduate education in the College
     5. Serving on high-level University committees and bargaining teams, including ex officio
        membership on committees relating to each division.




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